         Case 1:23-cv-01780-JEB Document 12 Filed 12/13/23 Page 1 of 4




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 STUDENT BORROWER PROTECTION
 CENTER,

                   Plaintiff,
                                                         Civil Action No. 23-1780 (JEB)
        v.

 U.S. DEPARTMENT OF EDUCATION,

                   Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order, dated October 11, 2023, the parties respectfully

submit this joint status report in this Freedom of Information Act (“FOIA”) case.

       Defendant contends that Plaintiff’s FOIA request does not “reasonably describe[]” the

records sought as required under 5 U.S.C. § 552(a)(3)(A). On August 2, 2023, the parties conferred

and agreed to narrow FOIA Request 22-01093-F as follows:

   1. The number of applications and requests for write offs due to incarceration that have been

       accepted;

   2. The number of applications and requests for write offs due to incarceration that have been

       rejected;

   3. The reasons for the rejections;

   4. Any documentation of guidance or instructions that the U.S. Department of Education

       (“the Department”) and/or the Office of Federal Student Aid has provided to contractors

       regarding the write off or other management of incarcerated borrowers’ federal student

       loans;
          Case 1:23-cv-01780-JEB Document 12 Filed 12/13/23 Page 2 of 4




   5. Any documentation or data related to the number of currently incarcerated or likely

       incarcerated people who owe on student loan debt and the amount they owe;

   6. Any documentation regarding the number of instances in which borrowers who were to be

       incarcerated for ten or more years overall had applications for write off due to their

       incarceration rejected because their application was submitted after such time as that fewer

       than ten years of incarceration remained;

   7. Any documentation or data related to the type of schools the incarcerated people attended,

       either for-profit, non-profit, and/or public, and broken down by the length or expected

       length of incarceration;

   8. Any documentation regarding the cost to collect on and/or service federal student loan debt

       owed by incarcerated borrowers; and

   9. Any complaints that borrowers have submitted to the Department or analysis of complaints

       that borrowers have submitted to the Department regarding write off for incarcerated

       borrowers.

The time frame for the request remains for the past ten years.

       Defendant contends that it has completed production with respect to the first through fourth

parts of Plaintiff’s revised request. Defendant has informed Plaintiff that there are no records

response to the fifth through eight parts. Defendant is still completing a search with respect to the

ninth part of Plaintiff’s revised request. Plaintiff is reviewing Defendant’s production with respect

to the first through fourth parts of its revised request and will continue to review that production

in the context of any additional records that are produced in response to the ninth part of Plaintiff’s

revised request.




                                                  2
            Case 1:23-cv-01780-JEB Document 12 Filed 12/13/23 Page 3 of 4




       The parties will continue to exchange communications and try to resolve Plaintiff’s request

without burdening the Court. The parties propose they file a further joint status report on February

14, 2024.




                                                 3
        Case 1:23-cv-01780-JEB Document 12 Filed 12/13/23 Page 4 of 4




Dated: December 13, 2023

/s/ Persis Yu                                 Respectfully submitted,
Persis S. Yu, D.C. Bar #90014714
Student Borrower Protection Center            MATTHEW M. GRAVES, D.C. Bar #481052
(a fiscally sponsored project of the Shared   United States Attorney
Ascent Fund)
1025 Connecticut Ave NW, #717                 BRIAN P. HUDAK
Washington, DC 20036                          Chief, Civil Division
(202) 670-3871
persis@protectborrowers.org                   By: /s/ Brian J. Levy
                                              BRIAN J. LEVY
R. T. Winston Berkman-Breen                   Assistant United States Attorney
Student Borrower Protection Center            601 D Street NW
(a fiscally sponsored project of the Shared   Washington, DC 20530
Ascent Fund)                                  (202) 252-6734
40 Rector Street, 9th Floor                   Brian.levy2@usdoj.gov
New York, NY 10006
(617) 959-4386                                Attorney for the United States of America
Winston@protectborrowers.Org

Counsel for Plaintiff




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